      3:18-cv-03085-SEM-TSH # 39          Page 1 of 6                                        E-FILED
                                                                    Friday, 08 May, 2020 11:40:47 PM
                                                                        Clerk, U.S. District Court, ILCD

                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE CENTRAL DISTRICT OF ILLINOIS

JENNIFER J. MILLER, DARIN E. MILLER,                )
SECOND AMENDMENT FOUNDATION, INC.,                  )
ILLINOIS STATE RIFLE ASSOCIATION, and               )
ILLINOIS CARRY,                                     )
                                                    )
                           Plaintiffs,              )
                                                    )
v.                                                  )         Case No. 3:18-CV-3085
                                                    )
MARC D. SMITH, in his official capacity as Acting )
Director of the Illinois Department of Children and )
Family Services, and LISA MADIGAN, in her           )
official capacity as Attorney General of the State  )
of Illinois,                                        )
                                                    )
                           Defendants.              )

     MOTION FOR EXTENSION OF TIME FOR DISCOVERY PRODUCTION

      NOW COME the Plaintiffs, JENNIFER J. MILLER, DARIN E. MILLER,

SECOND AMENDMENT FOUNDATION, INC., ILLINOIS STATE RIFLE

ASSOCIATION, and ILLINOIS CARRY, by and through LAW FIRM OF DAVID G.

SIGALE, P.C., their attorney, and hereby move this Honorable Court to grant

Plaintiffs an extension of time to comply with the Court’s discovery Order in this

matter. In support thereof, Plaintiffs state as follows:

      1.      This action alleges violations of the Plaintiffs’ constitutional rights

owing to certain of Defendants’ statutes and rules as they pertain to firearm

possession and availability for self-defense by foster parents and home daycare

residences.
      3:18-cv-03085-SEM-TSH # 39        Page 2 of 6



      2.      The parties are to complete fact discovery by August 1, 2020, and

expert discovery by January 15, 2021.

      3.      The Court entered an Order pursuant to the Defendant’s Motion to

Compel that the organizational Plaintiffs produce certain materials in their

possession, regarding Defendants’ Requests for Production ## 2 and 7, by May 8,

2020. This Order is essentially to supplement documents that Plaintiffs already

provided in their original Rule 34 Responses on January 9, 10 and 13, 2020.

      4.      However, as the Court is aware (and as even Defendants noted in their

Motion), the COVID-19 situation has wreaked havoc on normal life and business

operations.

      5.      The SAF office in Washington have been closed since March, 2020,

when the States started implementing shelter-in-place orders, and the heads of SAF

have been sheltering out of state for months. The SAF office is remaining closed

through May 31, 2020, which is the current expiration date of Governor Inslee’s

Proclamation 20-25.3 (See https://www.governor.wa.gov/sites/default/files/20-

25.3%20-%20COVID-19%20Stay%20Home%20Stay%20Healthy%20-

%20Reopening%20%28tmp%29.pdf (last checked May 8, 2020)). Though SAF could

perform a limited amount of work remotely, the tasks outlined in the Court’s Order

was not among them.

      6.      In addition, the head of SAF had a major health incident

approximately 10 days ago, and Plaintiffs’ counsel has been unable to communicate

with him, though he understands that his client is recovering.



                                          2
      3:18-cv-03085-SEM-TSH # 39        Page 3 of 6



      7.     The ISRA has been largely closed as well, as the Court knows that

Governor Pritzger’s Executive Order extends through May 29, 2020 (See

https://www2.illinois.gov/Documents/ExecOrders/2020/ExecutiveOrder-2020-33.pdf

(last checked May 8, 2020)).

      8.     Notwithstanding this, Plaintiffs’ counsel is working to obtain certain

responsive documents to Request for Production #2 from ISRA’s accountant.

Plaintiff’s counsel is confident these can be produced within 10 days, assuming the

accountant’s office is open. If not, then they can be produced within 10 days after

they are open again.

      9.     The responsive documents (to Request for Production #2) in IC’s

possession have been produced contemporaneous to this Motion, so that should no

longer be an issue, and SAF has already disclosed everything in its possession

responsive to Request for Production #2.

      10.    As for the remaining requested documents (Request for Production #7),

Plaintiff’s counsel has already sworn that to the best of his knowledge, all

responsive documents have been produced. At Defendants’ request and prior to the

Coronavirus pandemic, Plaintiffs had agreed to look again. That agreement is what

instigated the current situation, since Plaintiffs already stated they had nothing

else to produce, but would supplement if anything were discovered. Unfortunately,

as noted above, the COVID-19 crisis has prevented Plaintiffs from completing that

re-check.




                                           3
      3:18-cv-03085-SEM-TSH # 39         Page 4 of 6



      11.    Therefore, Plaintiffs request until June 14, 2020 to comply with the

Court’s Order, which is, in actuality, 14 and 16 days after Plaintiffs’ respective

offices are (hopefully) allowed to reopen. Of course, if materials exist and can be

produced sooner, Plaintiffs will do so. Plaintiff also does not oppose interim status

conferences, so that Plaintiffs can update the Court on this discovery issue, as well

as discovery in this case generally.

      12.    Plaintiffs’ counsel would have apprised the Court of the then-existing

circumstances originally, but accidentally docketed the response date for the Motion

to Compel as April 23, 2020 instead of April 21. As the Court’s Order issued on

April 22, 2020, Plaintiffs have attempted to comply, though the COVID-19 situation

described above has largely thwarted such efforts.

      13.    This Motion is not filed for dilatory purposes or for delay, but only so

that the parties may complete discovery and fully present the relevant information

and arguments before the Court. Indeed, Plaintiffs believe that had the Coronavirus

pandemic not occurred, these issues, and the rest of non-expert fact discovery,

would have been completed long ago.

      14.    The electronic signature of counsel below shall serve as an F.R.Civ.P.

11 certification of the facts contained herein.




                                           4
      3:18-cv-03085-SEM-TSH # 39       Page 5 of 6



      WHEREFORE, the Plaintiffs, JENNIFER J. MILLER, DARIN E. MILLER,

SECOND AMENDMENT FOUNDATION, INC., ILLINOIS STATE RIFLE

ASSOCIATION, and ILLINOIS CARRY, request this Honorable Court grant them

an extension of time as detailed above to complete discovery compliance, as well as

any and all further relief as this Court deems appropriate.


                                              Respectfully submitted,


                                                     /s/ David G. Sigale
                                                     Attorney for Plaintiffs


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                                          5
      3:18-cv-03085-SEM-TSH # 39       Page 6 of 6



    CERTIFICATE OF ATTORNEY AND NOTICE OF ELECTRONIC FILING

The undersigned certifies that:

      1.      On May 8, 2020, the foregoing document was electronically filed with
the District Court Clerk via CM/ECF filing system;

      2.    Pursuant to F.R.Civ.P. 5, the undersigned certifies that, to his best
information and belief, there are no non-CM/ECF participants in this matter.



                                                     /s/ David G. Sigale
                                                     Attorney for Plaintiffs




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                                          6
